 

Case 2:07-cr-01048-VBF DOUNMTRDST&EES BIFERICIDOURO7 Page 1of3 Page ID #:69
CENTRAL DISTRICT OF CALIFORNIA

 

Western Division

 

UNITED STATES OF AMERICA,

 

 

 

 

 

 

 

|
Plaintiff, |
Vs. | Case Number: 2:07-CR-01048-4 Indictment
| Initial App. Date: 12/04/2007 Initial App. Time: 2:00 PM
Lashawn Andrea Lynch | :
Defendant, | Date Filed: 12/04/2007
| Violation: 21:846,841(a)(1).(b)1(B
| CourtSmart: 1-04 ~6 /
PROCEEDINGS HELD BEFORE UNITED STATES | CALENDAR/PROCEEDINGS SHEET
MAGISTRATE JUDGE: Stephen J. Hillman | LOCAL/OUT-OF-DISTRICT CASE
; i
PRESENT: Sandra Bue d | [ . None
(tas lor= | John Lwleyan
Deputy Clerk Assistant U.S. Atteyney Interpreter/Language

¢/ Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and

 

 

\ (Defendant advised of consequen false statement in financial affidavit I Financial Affidavit ordered SEALED.

[vi Attorney: Alan Eisner, Panel Appointed

 

 

L_| Special appearance by:

 

  

: Government’s request for detention is:

   
   
  
  
 

_... Temporarily Detained (see separate order).
(SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)

 

Class B Misdemeanor {..| Defendant is advised of maximum penalties
: This case is assigned to Magistrate Judge . Counsel are directed to contact the clerk for the setting of all further
° Proceedings.

 

for the setting of further proceedings.

 

at 4:30 PM

 

 

/_| DENIED

 

  
 

_.. Defendant executed Waiver of Rights. rl Process received.
Court ORDERS defendant Held to Answer to District of

. C| Bond to transfer, if bail is posted. Defendant to report on or before

 

 

|_| Warrant of removal and final commitment to issue.

rl Warrant of removal and final commitment are ordered stayed until

pr": Case continued to (Date) (Time) AM/PM
earing: Before Judge /Duty Magistrate Judge.

 

  
 
  
  
  

 

_| Judge’s Courtroom

: Defendant committed to the custody of the U.S. Marshal Ft. Summons: Defendant ordered to report to USM for processing.
; Abstract of Court Proceeding (CR-53) issued. Copy forwarded to. USM... "

1 Abgfract of Order to Return Joefen Court on Next Court Day (M-20) issued. Original forwarded to USM.
u ELEASE ORDER NO: .
: } Other: 2 we! :
AZ a READY
nt an 7 i Deputy Clerk Initials he

M-S (03/07) CALENDAR/PROCEEDING SHEET - LOCAL/OUT-OF-DISTRICT CASE Page | of |

 

     

 
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UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, CASE NUMBER: O 7 R / O u g

Plaintiff,
Vv. =
LASHAWN ANDREA Lyng] (fiisicrptr msroRMATION

VIOLATION OF TITLE: SECTION:
‘| Defendant/Material Witness. | SUlo, KY | (a ) (1) ; (b)C)IB)
[IP ONAL RECOGNIZANCE (Signature only - no dollar amount) 4 /
a #ASECURED APPEARANCE BOND IN THE AMOUNT OF $ RELEASE No. q

APPEARANCE BOND IN THE AMOUNT OF $_| SD, 0623

 

 

 

 

 

 

 

 

 

an CASH DEPOSIT (AMOUNT OR %) : (1) RELEASE TO PRETRIAL ONLY
WITH AFFIDAVIT OF Nenike Chak JUSTIFICATION (Form CR-4) L} FORTHWITH RELEASE
au AA heniée, . O ALL CONDITIONS OF BOND
SHALL BE MET AND BOND
O WITH AFFIDAVIT WITH JUSTIFICATION OF SURETY (Form CR-3) POSTED BY:
Date

 

 

LO) WITH DEEDING OF PROPERTY
[] COLLATERAL BOND IN AMOUNT OF (Cash or Negotiable Securities) $
1 CORPORATE SURETY BOND IN AMOUNT OF (Separate Form Required) $

LO ADDITIONAL REQUIREMENTS: , A,
BAIL FIXED BY COURT Uy Lv WALL REQUIREMENTS HAVE BEEN MET: ¢ AB
Deputy Clerk Deputy Clerk
PRE-CONDITIONS TO RELEASE ,
{4 Bail is subject to Nebbia hearing which is a hearing to inquire about the source of the collateral.
LC] The Nebbia hearing can be waived by the government.
ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of son (Wasa on other side, the following conditions of release are

 

 

 

Oper upon you:

fendant shall submit to: | | Pretria! Supervision. [ intensive Pretrial Supervision.
Osu, ender all passports to the Clerk of Court, or sign a declaration no later than, and not apply

Je r,the issuance of a passport during the pendency of this case. .
avel is restricted to: CD/CA

fe not enter premises of any airport, seaport, railroad, or bus terminal which permits exit from the Continental U.S. or area

 

f restricted travel without Court permission.
Reside as approved by PSA and do not relocate without prior permission from PSA.
CL Maintain or actively seek employment and provide proof to PSA.
Co Faintain or commence an educational program and provide proof to PSA.
Avoid all contact, directly or indirectly, with any person who is or who may become a victim or potential witness in the J
ofitiect investigation or prosecution, including but not limited to: (/Z- } 7- (oY? 20 P70 “ £2. 27-10 aw ¢
Not possess any firearms, ammunition, destructive devices, or other dangerous weapons. f | In order to determine C20 5 «Es
compliance, you will agree to submit to a search of your person and/or property by Pretrial Services in conjunction with the livj¢
US Marshal. it f 2
1 Not use/possess any identification other than in your own legal name or true name. [ ] In order to determine compliance; you
will agree to submit to a search of your person and/or property by Pretrial Services 1 in conjunction with the U.S. Marshal.

 

 

d/or property by Pretrial Services in conjunction with the US Marshal.

wet use alcohol. Luly,
Ju use or possess illegal drugs. [ ] In order to determine compliance, you will agree to submit toa search of your person re
Jans to drug [and/or] alcoho! testing and outpatient treatment as directed by PSA. You shall pay all or patt 0 of the cost t for.

S ge BoA,

 

  

ting and treatment based upon your ability to pay as determined by PSA.
Participate in residential drug [and/or] alcohol treatment as deemed necessary by PSA. You shall pay all or x part f the cost
for treatment based upon your ability to pay as determined by PSA. [ ] Release to PSA only.

DL) Participate in mental health evaluation, and/or counseling and/or treatment as directed by PSA.
the costs based upon your ability to pay as determined by PSA.

 

You hi 1 pay all or part of

  
 
 
     
 

Defendant Initi

ORIGINAL - YELLOW COPY PINK- PRETRIAL SERVICES — _WHITE - DEFENDANT COPY

CR-1 (07/05) CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDE, Page Lof2.* 62. °

 

CLC} U.s GOVERNMENT PRINTING
Case 2:07-cr-01048-VBF Document29° Filed 12/04/07 Page 3of3-PageID#:71 =

 

UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

LaShawn Andee. Lanes CASE NUMBER:
LO ‘Defendant/Material Witness. O1tKk | 0 dy

WPanicipaglcone ot the following home confinement program components and abide by all requirements of the program
which 4’ will or [ | will not include electronic monitoring or other location verification system. You shall pay all or part
of the cost of the program based upon your ability to pay as determined by PSA. ~
[| ] Curfew" You are restricted to your residence every day: [ ] from to .[ ] as directed by PSA.
{\}/Release to PSA only.
Home Detention. You are restricted to your residence at all times except for employment; education; religious
services; medical, substance abuse, or mental health treatment; attorney visits; court-ordered obligations; or other
activities as pre-approved by PSA. [ | Release to PSA only.
[ ] Home Incarceration. You are restricted to your residence at all times except for medical needs or treatment; religious
services; and court appearances as pre-approved by PSA. [ |] Release to PSA only.

11 Not possess or have access to, either in the home, the workplace, or any other location, any device which offers Internet
access, except as approved by PSA. [ | In order to determine compliance, you will agree to submit to a search of your
person and/or property by Pretrial Services in conjunction with the US Marshal.

0 Not associate or have verbal, written, telephonic, or electronic communication with any person who is less than the age of 18
except in the presence of another adult who is the parent or legal guardian of the minor.

C) Not loiter/be found within 100 feet of any school yard, park, playground, arcade, or other place primarily used by children
under the age of 18.

0 Not be employed by, affiliate with, own, control, or otherwise participate directly or indirectly in conducting the affairs of
any dayeare facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.

1 Not view or possess child pornography or child erotica. [ ] In order to determine compliance, you will agree to submit to a
fue of your person and/or property, including computer hardware and software, Taos Services in by cat with

© US Marshal pe fe Quletonadi Whsnents (riilane TO Cpfear
‘aha ie GAL tT

yyw |
a eco a4,
ate Defentiant/ aut ihn Witness’ Signature Telephone Number

Catidaen ON Or
City, Statddnd Zip Code D Mug i

O Check if interpreter is used: I have interpreted into the language all of the
above conditions of release and have been told by the defendant that he or she understands all of the conditions of release.

 

 

 

 

  
 

 

 

 

Mp — 5 ture ‘ Date

sewn A 5

United Mp 7 Magistrate Judge Date *

 

If Cash Deposited: Receipt # For $ Pe

(This bond may require surety agreements and affidavits pursuant to Local Criminal Rules 46-3.2 and 46-6) .

ORIGINAL - YELLOW COPY PINK- PRETRIAL SERVICES WHITE - DEFENDANT COPY

 

  

~CR-E (07/05) . CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM)... “Page. of

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